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                    Exhibit D
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        Response: All documents in Plaintiff’s possession responsive to this request
        are attached as “Exhibit 7.”

 PFS REQUEST FOR DOCUMENT PRODUCTION #8: Please produce the following
 documentation concerning the remediation of the Property: The remediation
 contract and an itemization from the contractor who performed the remediation
 work of the materials used during the remediation, including, but not limited to,
 manufacturer, model number, and quantity.

        Response: All documents in Plaintiff’s possession responsive to this request
        are attached as “Exhibit 8.”

 PFS REQUEST FOR DOCUMENT PRODUCTION #9: Please produce the following
 documentation concerning the remediation of the Property: An itemized invoice
 from the contractor who performed the remediation work (“Itemized Invoice”)
 showing the scope of work carried out.

        Response: All documents in Plaintiff’s possession responsive to this request
        are attached as “Exhibit 9.”

 PFS REQUEST FOR DOCUMENT PRODUCTION #10: Please produce the following
 documentation concerning the remediation of the Property: Proof of payment of the
 Itemized Invoice and any other expenses, such as cancelled checks, credit card
 statements, etc.

        Response: All documents in Plaintiff’s possession responsive to this request
        are attached as “Exhibit 10.”

 PFS REQUEST FOR DOCUMENT PRODUCTION #11: Please produce the following
 documentation concerning the remediation of the Property: A floor plan of the
 Affected Property with dimensions.

        Response: All documents in Plaintiff’s possession responsive to this request
        are attached as “Exhibit 11.”

 PFS REQUEST FOR DOCUMENT PRODUCTION #12: Please produce the following
 documentation concerning the remediation of the Property: An Environmental
 Certificate.

        Response: All documents in Plaintiff’s possession responsive to this request
        are attached as “Exhibit 12.”

 PFS REQUEST FOR DOCUMENT PRODUCTION #13: Please produce the following
 documentation concerning the remediation of the Property: An Owner Disclosure
 Affidavit in the form attached as Exhibit 1, which includes a certification that the
 materials provided comprise all of the available documentation regarding the


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 following: The drywall that was in the Affected Property prior to the
 commencement of the remediation; and, the scope, extent, and cost of the
 remediation.

       Response: All documents in Plaintiff’s possession responsive to this request
       are attached as “Exhibit 13.”




                                                                                 10
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                                        VERIFICATION



            I hereby verify that the responses to the Plaintiff Fact Sheet are correct to the
   best of my knowledge.




        M
   Signature ofPlaintiff
                                                                &n 0,1 ?\ 7fr11
                                                               Date




        0rnrrl Br 04
   Printed Name
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                    Exhibit 1
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                    Exhibit 2
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                                                                    January 13, 2015
Daniel and Shona Blonsky
8220 SW 60th Court
South Miami, FL 33143

RE: Property Assessment Report Number FL01-0381

Daniel and Shona Blonsky,

At your request, an investigation and testing of the subject property was performed starting on
December 23, 2014 and continuing to December 30, 2014. Chinese Drywall Screening, LLC
(CDS) is providing the enclosed report for your use.

Overview
The property contained limited amounts of corrosive drywall that was determined by a previous
assessment by CDS on February 12, 2014. The remediation for corrosive drywall in the subject
property was completed by Gary Rosen of Certified Mold Free Corp in August of 2014. It was
purported that all corrosive drywall in the areas discovered were properly removed. Refer to
separate documentation for details of the remediation. CDS was engaged to test for the presence
of any remaining corrosive drywall utilizing our specialized Environmental Corrosion Testing
procedures.

Scope and Methodology
During the original assessment, CDS utilized various assessment techniques in order to collect a
comprehensive amount of information in order to make the best determination as to the current
condition of the subject property. The techniques included visual observations and x-ray
fluorescence (XRF) testing for elevated levels of strontium that is typical for Chinese drywall.
After remediation, Environmental Corrosion Testing was utilized to test all areas of the property
for any sulfide off gassing that would indicate the presence of corrosive drywall. Testing zones
were created throughout the property and two outside tests were performed in order to have a base
line as to the corrosion rate of normal atmospheric air which contains naturally occurring sulfide
gases. Scope and details of these techniques are attached as Exhibit B.

Observations and Procedures
Below is a bullet point list of observations and statements.
   • Initial inspection and testing was performed by Howard Ehrsam on February 12, 2014
   • Corrosive/Chinese drywall was mapped out in the property and determined to only be
      present on the first floor in the foyer, den, cabana bath, hall and a small piece in the under
      stair closet.



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                                www.chinesedrywallscreening.com
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                                                                              Daniel and Shona Blonsky
                                                                                FL0‐0381 Page 2 of 3

   •   There were no indications of cdw in the living, dining, family, kitchen and garage areas of
       the first floor or any of the areas on the 2nd floor.
   •   The property was purported to have been remediated of corrosive drywall in August of
       2014 by Gary Rosen of Certified Mold Free Corp.
   •   Environmental Corrosion Testing was set up by Howard Ehrsam on December 23, 2014.
   •   Acceleration devices for ambient air testing were placed in the following rooms/areas:
           o Device ID 4.18: Den and G. Bath
           o Device ID 4.17: Living
           o Device ID 4.25: Dining/Hall
           o Device ID 4.7: Kitchen/Family
           o Device ID 4.26: Stair Landing
           o Device ID 4.2: 2nd Floor Hall
           o Device ID 4.16: G. Bed/Jack & Jill Bath
           o Device ID 4.8: G. Bed/Baby Room
           o Device ID 4.19: Master Suite
           o Device ID 4.27: Exterior – Back Porch
           o Device ID 4.28: Exterior – Front Porch
   •   The property was reviewed for any sources of sulfides that could affect the testing and
       none were determined to be present.
   •   Two test coupons were included with each of the 11 corrosion acceleration devices, 1
       copper (Cu) and 1 silver (Ag).
   •   Each zone was isolated from others by closing doors or draping visqueen curtains.
   •   Initial thermostat readings for the first floor were at 77 degrees and 77% relative humidity.
   •   Initial thermostat readings for the second floor were at 77 degrees and 60% relative
       humidity.
   •   Thermostats were changed to “Off” and the fan was verified to be set to “Auto” so it
       would not run during the testing period.
   •   The property was closed up with no access during the testing period to prevent any outside
       influences.
   •   “Test in Progress” and “Do Not Disturb” signs were placed in conspicuous locations.
   •   Devices and coupons were picked up on December 30, 2015.
   •   Property was in an “as-was” condition and appears to be undisturbed during testing
       period.
   •   Temperature and humidity was measured in each zone and ranged from 79 to 83 degrees
       Fahrenheit and 61% to 67% respectively.

Findings
At the conclusion of the exposure period, the subject property along with all of the testing devices
appeared to be undisturbed and in the same condition as it was upon the initial set up. None of the
coupons in the interior devices had any noteworthy visual signs of corrosion or measurable
amounts of sulfur deposition except for the master suite that had some suspect amounts. The
color tone of the discoloring on the silver coupon is not typical for corrosive drywall. The sulfur
deposition amounts of the master suite coupons ranged around 64% to 77% of the exterior. Refer
to Exhibit C for photos and readings of the test coupons.


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                                                                              Daniel and Shona Blonsky
                                                                                FL0‐0381 Page 3 of 3

Conclusions
Based our best ability, belief and knowledge along with our thorough assessments, visual
observations and testing, we are of the professional opinion that no corrosive drywall is present
in the property with the possible exception of the master suite. It is undetermined as to the cause
or source of the suspect sulfur deposition on the test coupons of the master suite. Some possible
sources other than corrosive drywall could be bath vents and sewer lines.

Since the measurements of sulfur deposition for the coupons in the master suite were less than
the outdoor coupons, it could be theoretically determined that the levels of sulfide gases present
within the master suite are not problematic. However, we do not opine as to the sulfides in the
outside environment nor as to what levels may be problematic.

We appreciate the opportunity to work with you on this matter. Please feel free to contact us for
any clarifications or further assistance.

Sincerely,




Howard Ehrsam, P.E., LEED AP
CGC 1509717
on behalf of Chinese Drywall Screening, LLC

Attachments: Exhibit A - Certifications of the Inspector
             Exhibit B – Scope of Services
             Exhibit C – Corrosion Test Coupons and Readings




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                                                Exhibit A
                                                                             Certification
Certification of the Inspector

The undersigned do hereby certify that, to the best of our knowledge and belief:
    •   The statements of fact contained within this report are true and correct.
    •   The statements of opinions have certain limitations. It is not feasible and is impossible to confirm
        100% of corrosive drywall was either removed or is not present. There are several conditions that
        we have seen that could prevent discovery without a more exhaustive investigation. They include,
        but are not limited to:
                   Low strontium, corrosive drywall that is domestic and non‐homogeneous.
                   Limited amounts of corrosive drywall in inaccessible areas or installed in a way that
                    would seclude it from available receptacles and switches.
                   Limited amounts of high strontium drywall covered with joint compound or heavy
                    textures hindering detection by x‐ray fluorescence.
                   Variable amounts of low off‐gassing drywall or drywall with corrosive recycled gypsum.
    •   We have no present or prospective interest in the property that is the subject of this report and we
        have no personal interest with respect to the parties involved. We have no bias with respect to the
        property that is the subject of this report or to the parties involved with this assignment.
    •   The information in this report is based on the existing conditions of the structure’s materials,
        documents, and information (written or verbal) supplied by contractor, the owner or their
        representatives, and our observations during the inspection.
    •   Our compensation or engagement in this assignment is not contingent upon the development or
        reporting of a predetermined conclusion that favors the cause of the client, the remediator, the
        attainment of a stipulated result, or the occurrence of a subsequent event directly related to the
        intended use of this report.
    •   Any use of this report by any other parties without our expressed or written consent is prohibited.
        Should another individual or entity rely on this analysis or its conclusions without our consent, they
        shall indemnify Chinese Drywall Screening, LLC, its employees, and service providers from all
        damages, losses or expenses that may occur as a result of its use.
    •   Our report is based on information made available to us at this time. Should additional information
        become available, we reserve the right to determine the impact, if any, of the new information on
        our opinions and conclusions and to revise our opinions and conclusions if necessary and warranted
        by the discovery of additional information.
    •   The provided services and documentation have been completed to the best of our knowledge and
        based on current known facts regarding reactive drywall.



                                         Howard Ehrsam, P.E., LEED AP
                                                  CGC 1509717
                                   on behalf of Chinese Drywall Screening, LLC


                                    Chinese Drywall Screening, LLC
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                                                    Scope of Screening
Scope of Services

Phase I and Phase II – Visual and Product ID

Chinese Drywall Screening, LLC (CDS) conducted a visual investigation of the
various elements within the property for the presence of reactive drywall.

Investigative services typically include, but are not limited to:
    Verification of a sulfur attack on various components of the property
    Visual inspection of the drywall markings in respective areas of the sulfur
       attack
    Documentation of findings
    Samples of reactive drywall prepared for future laboratory analysis

CDS provided the above investigation in multiple areas throughout the home.
However, we cannot guarantee all types of reactive drywall within the subject
property were identified.

The inspection required removal of various sections of drywall to be utilized as
visual access points. These access points were sealed upon completion. For each
unique variety of drywall discovered, at least one sample piece of drywall was
preserved for future lab testing to be held by the homeowner.

The corroded elements along with any discovered drywall markings were
documented during the inspection. Observations were recorded and
photographed. Refer to the report and photograph exhibit(s) for details.

The following engineering report is utilized as a reference in regards to the sulfur
attack on copper: Unified Engineering Report File 4050 dated March 17, 2009.
Unified Engineering, Inc; 3056 Weber Drive, Aurora, IL 60502.




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                                                    Scope of Screening
Scope of Services (continued)

X-ray Florescence (XRF) for Strontium
XRF analyzers are handheld instruments used predominantly to evaluate the
presence of metal constituents in building materials or other products. XRF works
by exposing a material to high energy x-rays and measuring those x-rays and
comparing them to the known and unique pattern of x-rays produced by each
element. For help in identifying corrosive drywall, XRF is used to determine levels
of strontium (Sr) present within the gypsum of the drywall throughout the
property.

Strontium is a light metal that is a common, naturally occurring element found
within the earth. Certain geographical regions have higher concentrations than
others that can translate to the origin of the raw materials. Strontium levels
above 1850 ppm have been associated with drywall of Chinese origin. However,
high levels of strontium do exist in drywall from other origins and testing must be
used in conjunction with other means to produce proper conclusions.

The attenuating effects of joint compound and textures could inhibit the
detection of small amounts of corrosive drywall. Furthermore, corrosive drywall
could also be present in inaccessible areas that include, but are not limited to,
walls above drop ceilings, fire stopping, behind tile, behind cabinets, under raised
floor systems, etc. However, the potential for these conditions can be reduced or
eliminated with proper property evaluation and corrosion evaluation.

Sulfur Corrosion Testing - Environmental
Our patent pending method for environmental corrosion testing is the analyzing
of deposited sulfur on copper and/or silver coupons utilizing x-ray florescence.
The sulfur is a byproduct of the corrosion of the metals from sulfide gases.
Problematic or corrosive drywall emits sulfide gases that react with copper and
silver to form copper sulfide and silver sulfide respectively on the surface of the
test coupons. This process is accelerated utilizing forced air over a set period of
time.


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                                                     Scope of Screening
Scope of Services (continued)

X-ray florescence (XRF) is utilized to quantify the sulfur deposits on the coupons in
ug/cm2 (micrograms per square centimeter). Readings can then be interpreted to
determine the presence of sulfide gases that may be present within the subject
property. A non-detect (ND) reading upon analyzing the test coupons indicates
there are no detectable sulfur deposits on the surface of the coupons. This in
turn leads to the conclusion that there are no sulfide gases present at any
significant or detectable levels during the course of the exposure period. Positive
readings for sulfur are compared against various controls and environmental
conditions to make determinations as to the source for cause.

Sulfur Corrosion Testing – Drywall
Our internally developed method of sulfur corrosion testing specific samples of
drywall is to analyze copper and/or silver coupons for deposited sulfur utilizing x-ray
florescence. The sulfur is a byproduct of the corrosion of the metals from emitted
sulfide gases. Problematic or corrosive drywall emits sulfide gases that react with
copper and silver to form copper sulfide and silver sulfide respectively on the surface
of test coupons. This process can be accelerated by elevating the temperature.

X-ray florescence (XRF) is utilized to quantify the sulfur deposits on the coupons in
ug/cm2 (micrograms per square centimeter). Readings can then be interpreted to
determine to whether the drywall tested is corrosive and at what proportionate
levels. A non-detect (ND) reading upon analyzing the test coupons indicates there
are no detectable sulfur deposits on the surface of the coupons. This in turn leads
to the conclusion that the drywall is non-corrosive at any significant or detectable
levels during the course of the testing period. Positive readings for sulfur are
compared against various controls and known samples in order to make proper
determinations as to the conditions of the samples being tested. Samples with low
levels of off gassing may need multiple rounds of testing to verify that the gypsum is
the root source of the corrosive gases and the sulfur deposition is not a result from
de-absorbed environmental sources.




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                                           Exhibit C – Corrosion Test
                                            Coupons and Readings




                  Copper/Cu   Silver/Ag                           Copper/Cu   Silver/Ag
     Area                                            Area
                   (ug/cm2)   (ug/cm2)                             (ug/cm2)   (ug/cm2)
Den and G. Bath      ND         ND              G. Bed, JJ Bath      6           12
    Living           ND           9            G.Bed/Bath-Baby       ND         ND
  Dining/Hall        <1          5               Master Suite        49          51
 Kitchen/Fam         ND           1             Outside – Back       68          74
 Stair Landing       <1           1             Outside – Front      64          80
 2nd Floor Hall      ND         ND              Case Compare         49          43



                              Chinese Drywall Screening, LLC
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                                                                                   July 26, 2016
Daniel and Shona Blonsky
8220 SW 60th Court
South Miami, FL 33143

RE:            Chinese Drywall Testing Services; FL01-0451
               Post Remediation Environmental Corrosion Testing
               8220 SW 60th Court S. Miami, FL 33143

Mr. & Mrs. Blonsky,

At your request, Environmental Corrosion Testing (ECT) of the subject property was performed
from February 24, 2016 to February 29, 2016. Chinese Drywall Screening, LLC (CDS) is
providing the enclosed results for your use.

Subject Property

A 4,844 sq ft, home built in 2008 located in Harris Estates – 8220 SW 60th Court in South
Miami.

Overview
The property contained limited amounts of corrosive drywall that was remediated by Gary Rosen
of Certified Mold Free Corp in August of 2014. CDS was engaged to test for the presence of any
remaining corrosive drywall utilizing our specialized Environmental Corrosion Testing
procedures. The first round of testing was preformed in December of 2014 to verify that no
sulfide gases remain. Refer to separate report dated January 13, 2015. It was requested that a
more thorough testing was to be completed on the master suite.

Scope and Methodology
All drywall in the master suite was retested utilizing an x-ray fluorescence analyzer. The 2nd
component to the testing was our state of the art method for environmental corrosion testing
which is the analysis of deposited sulfur on copper and/or silver coupons utilizing x-ray
florescence. Refer to the attached scope exhibits for details.

Procedures
An ECT device was set inside various areas of the master suite. The areas were isolated from
each other with temporary visqueen partitions. A device was also set outside as a comparison.

Various measures were taken to prevent other potential sources of sulfide gases interfering with
the testing. Other potential sources include sewer gases, gas burning appliances, kerosene
heaters, wood or coal stoves, tobacco smoke, malfunctioning chimney’s and outside air entering
inside the property. These were all verified not to be present to the extent feasible. However,


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                                                                     8220 SW 60th Ct., S. Miami, FL
                                                                         FL01-0451        Page 2 of 2

there were a significant amount of contents in the closets and all items were not specifically
inspected nor were products analyzed for origins or content.

Results
At the conclusion of the exposure period, the subject property along with all of the testing devices
appeared to be undisturbed and in the same condition as it was upon the initial set up. Electric
timers within the devices indicated no interruption of power. Temperature and humidity in the
unit at the end of the testing period was 77° F and 53% respectively. All coupons looked pristine
and had no visual evidence of corrosion.
Below is a summary of the results:

              Location            Silver (Ag)     Copper (Cu)
                                  S (ug/cm2)       S (ug/cm2)
    M. Bed                            16               13
    Treadmill                         ND                4
    N. Closet                         23               19
    S. Closet                         25               21
    M. Bath                           ND                9
    M. Toilet                          3                3
    Outside - porch of 1100           46               50
    Typical Exterior                 30-80           30-60
    Typical CDW Property          200-500+         200-500+
       ND = Non-detect/below detectable limits
Conclusion
Based on the non-detectable to low readings combined with high sensitively of the test and the
small, confined spaces, CDS is of the opinion that corrosive drywall is not present.

We appreciate the opportunity to work with you on this matter. Please feel free to contact us for
any clarifications or further assistance.
Sincerely,




Howard Ehrsam, P.E., LEED AP
CGC 1509717
on behalf of Chinese Drywall Screening, LLC
Attachments: Exhibit A - Certifications of the Inspector
             Exhibit B - Scopes
             Exhibit C – Coupon Exhibit




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                                                Exhibit A
                                                                             Certification
Certification of the Inspector

The undersigned do hereby certify that, to the best of our knowledge and belief:
    •   The statements of fact contained within this report are true and correct.
    •   The statements of opinions have certain limitations. It is not feasible and is impossible to confirm
        100% of corrosive drywall was either removed or is not present. There are several conditions that
        we have seen that could prevent discovery without a more exhaustive investigation. They include,
        but are not limited to:
                   Low strontium, corrosive drywall that is domestic and non‐homogeneous.
                   Limited amounts of corrosive drywall in inaccessible areas or installed in a way that
                    would seclude it from available receptacles and switches.
                   Limited amounts of high strontium drywall covered with joint compound or heavy
                    textures hindering detection by x‐ray fluorescence.
                   Variable amounts of low off‐gassing drywall or drywall with corrosive recycled gypsum.
    •   We have no present or prospective interest in the property that is the subject of this report and we
        have no personal interest with respect to the parties involved. We have no bias with respect to the
        property that is the subject of this report or to the parties involved with this assignment.
    •   The information in this report is based on the existing conditions of the structure’s materials,
        documents, and information (written or verbal) supplied by contractor, the owner or their
        representatives, and our observations during the inspection.
    •   Our compensation or engagement in this assignment is not contingent upon the development or
        reporting of a predetermined conclusion that favors the cause of the client, the remediator, the
        attainment of a stipulated result, or the occurrence of a subsequent event directly related to the
        intended use of this report.
    •   Any use of this report by any other parties without our expressed or written consent is prohibited.
        Should another individual or entity rely on this analysis or its conclusions without our consent, they
        shall indemnify Chinese Drywall Screening, LLC, its employees, and service providers from all
        damages, losses or expenses that may occur as a result of its use.
    •   Our report is based on information made available to us at this time. Should additional information
        become available, we reserve the right to determine the impact, if any, of the new information on
        our opinions and conclusions and to revise our opinions and conclusions if necessary and warranted
        by the discovery of additional information.
    •   The provided services and documentation have been completed to the best of our knowledge and
        based on current known facts regarding reactive drywall.



                                         Howard Ehrsam, P.E., LEED AP
                                                  CGC 1509717
                                   on behalf of Chinese Drywall Screening, LLC


                                    Chinese Drywall Screening, LLC
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                                                 Scope of Screening
Scope of Screening Services Performed


X‐ray Florescence (XRF) for Strontium
XRF analyzers are handheld instruments used predominantly to evaluate the
presence of metal constituents in building materials or other products. XRF works
by exposing a material to high energy x‐rays and measuring those x‐rays and
comparing them to the known and unique pattern of x‐rays produced by each
element. For help in identifying corrosive drywall, XRF is used to determine levels
of strontium (Sr) present within the gypsum of the drywall throughout the
property.
Strontium is a light metal that is a common, naturally occurring element found
within the earth. Certain geographical regions have higher concentrations than
others that can translate to the origin of the raw materials. Strontium levels
above 1850 ppm have been associated with drywall of Chinese origin. However,
high levels of strontium do exist in drywall from other origins and testing must be
used in conjunction with other means to produce proper conclusions.
The attenuating effects of joint compound and textures could inhibit the
detection of small amounts of corrosive drywall. Furthermore, corrosive drywall
could also be present in inaccessible areas that include, but are not limited to,
walls above drop ceilings, fire stopping, behind tile, behind cabinets, under raised
floor systems, etc. However, the potential for these conditions can be reduced or
eliminated with proper property evaluation and corrosion evaluation.




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                                                 Scope of Screening
Scope of Services

Environmental Corrosion Testing (ECT)
Our state of the art method for environmental corrosion testing is the analysis of
deposited sulfur on copper and/or silver coupons utilizing x-ray florescence. The
sulfur is a byproduct of the corrosion of the metals from sulfide gases. Corrosive
drywall emits sulfide gases that react with copper and silver to form copper sulfide
and silver sulfide respectively on the surface of the test coupons. Neighboring
porous materials will also emit sulfide gases for a limited amount of time due to
the exposure to corrosive drywall gases. The de-absorption process is a critical
part of the remediation in order to avoid problematic corrosion of new copper
materials that could indicate a false positive for the presence of corrosive drywall.
Testing is done after the de-absorption process and/or treatment for the absorbed
gases. The process of the gases reacting with the test coupons is accelerated
utilizing forced air over a set period of time.

X-ray florescence (XRF) is utilized to quantify the sulfur deposits on the coupons
in ug/cm2 (micrograms per square centimeter). Readings can then be interpreted to
determine the presence of sulfide gases that may be present within the subject
property. A non-detect (ND) reading upon analyzing the test coupons indicates
there are no detectable sulfur deposits on the surface of the coupons. This in turn
leads to the conclusion that there are no sulfide gases present at any significant or
detectable levels during the course of the exposure period. Positive readings for
sulfur are compared against various controls and environmental conditions to draw
comparisons and interpret results.




                              Chinese Drywall Screening, LLC
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                                      Exhibit C – Corrosion Test
                                           Coupon Exhibit




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                    Exhibit 3
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          Property Screening Report
                8220 SW 60th Court, South Miami, FL 33143


                                                      Screening Date:
                                                              2‐12‐14

                                                         Prepared for:
                                                        Daniel Blonsky

                                                      Report Number:
                                                           FL01‐0325

                                                       CDS Inspector:
                                                      Howard Ehrsam
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                                                                         February 17, 2014

Daniel Blonsky
8220 SW 60th Court
South Miami, FL 33143
RE:        Chinese Drywall Screening Report: FL01-0325
Community: Harris Estates
Dear Mr. Blonsky,
At your request, an investigation of the above referenced property was performed on February
12, 2014. Chinese Drywall Screening, LLC (CDS) is providing the summary below for your use.
This is a professional opinion based on visual inspections and testing of accessible materials.
Based on our visual observations of blackened A/C coils, electrical wires and copper plumbing
coupled with known affects from reactive drywall, CDS is of the opinion that reactive drywall is
present in the above referenced property. The distinctive odor associated with corrosive drywall
was not noticed upon entry nor throughout the inspection. Elevated levels of strontium
characteristic to Chinese drywall corresponded to outlets containing corroded wiring. Strontium
readings were around 2000 to 2100 similar to MDL 2046 No. 9 – Knauf-Tianjin but no
destructive investigation was performed to verify.
X-ray fluorescence testing and inspection for visible evidence of sulfur attack was performed
throughout the property in order to identify areas of Chinese drywall. Although additional
testing is needed to verify, corrosive and/or Chinese drywall appears to be limited to the
following areas of the first floor only:
                 Foyer                                     Dining Hall
                 Office                                    Hall/Entry to Kitchen
                 Cabana/Office Bath                        Under stair closet
Refer to attachments for details of the findings and specific locations.
Please feel free to contact us should you have any questions regarding our findings or if we may
be of further assistance to you.
Sincerely,




Howard Ehrsam, P.E., LEED AP
CGC 1509717
on behalf of Chinese Drywall Screening, LLC
Enclosures: Report with Photo Exhibit


                                     Chinese Drywall Screening, LLC
                     501 SE Port St. Lucie Blvd., Ste. 101, Port St Lucie, FL 34984
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                                                               Overview
Overview of Subject Property




    Client: Daniel Blonsky
    Address: 8220 SW 60th Court
             South Miami, FL 33143
    Subdivision: Harris Estates
    Builder: GC Custom Homes
    Model: n/a
    Size: Total 4,844 sf
    Exterior wall types: CBS ‐ Concrete Block exterior
    Completion date: 2008



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                                               Scope of Screening
Scope of Services

Phase I and Phase II – Visual and Product ID

Chinese Drywall Screening, LLC (CDS) conducted a visual investigation of the
various elements within the property for the presence of reactive drywall.

Investigative services typically include, but are not limited to:
    Verification of a sulfur attack on various components of the property
    Visual inspection of the drywall markings in respective areas of the sulfur
       attack
    Documentation of findings
    Samples of reactive drywall prepared for future laboratory analysis

CDS provided the above investigation in multiple areas throughout the home.
However, we cannot guarantee all types of reactive drywall within the subject
property were identified.

The inspection required removal of various sections of drywall to be utilized as
visual access points. These access points were sealed upon completion. For each
unique variety of drywall discovered, at least one sample piece of drywall was
preserved for future lab testing to be held by the homeowner.

The corroded elements along with any discovered drywall markings were
documented during the inspection. Observations were recorded and
photographed. Refer to the report and photograph exhibit(s) for details.

The following engineering report is utilized as a reference in regards to the sulfur
attack on copper: Unified Engineering Report File 4050 dated March 17, 2009.
Unified Engineering, Inc; 3056 Weber Drive, Aurora, IL 60502.




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                                               Scope of Screening
Scope of Services (continued)

X‐ray Florescence (XRF) for Strontium
XRF analyzers are handheld instruments used predominantly to evaluate the
presence of metal constituents in building materials or other products. XRF works
by exposing a material to high energy x‐rays and measuring those x‐rays and
comparing them to the known and unique pattern of x‐rays produced by each
element. For help in identifying corrosive drywall, XRF is used to determine levels
of strontium (Sr) present within the gypsum of the drywall throughout the
property.
Strontium is a light metal that is a common, naturally occurring element found
within the earth. Certain geographical regions have higher concentrations than
others that can translate to the origin of the raw materials. Strontium levels
above 1850 ppm have been associated with drywall of Chinese origin. However,
high levels of strontium do exist in drywall from other origins and testing must be
used in conjunction with other means to produce proper conclusions.
The attenuating effects of joint compound and textures could inhibit the
detection of small amounts of corrosive drywall. Furthermore, corrosive drywall
could also be present in inaccessible areas that include, but are not limited to,
walls above drop ceilings, fire stopping, behind tile, behind cabinets, under raised
floor systems, etc. However, the potential for these conditions can be reduced or
eliminated with proper property evaluation and corrosion evaluation.




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                                                   Summary Narrative
Observations and Conclusions
Observations
Blackening or “black deposits” (determined to be copper sulfide) as defined by Unified
Engineering File No. 4050 associated with reactive drywall were observed on the A/C
evaporator coils of the unit on the 2nd floor and on the external refrigerant lines for both first
and second floor units. The evaporator coils for the 1st floor unit were replaced with aluminum
coils that had areas of white chalky residue. Blackening on wires within the A/C unit was
observed. The 2nd floor A/C unit is next to the stair and above the ceiling that has corrosive
drywall. Blackening was not observed on the water heater’s copper piping. Blackening was
observed on the ground wires of inspected receptacles and switches at areas of high strontium.
Blackening was not observed in areas absent of high strontium and not adjacent to it. A
familiar odor associated with reactive Chinese drywall was not noticed upon entry or during the
inspection but no walls were cut or opened. Various areas of the following rooms had elevated
levels of strontium and blackened wires: Foyer, Office, Cabana/office Bath, Dining Hall, and
Kitchen Entry Hall. All others had 2 ranges of strontium that were below the threshold that
would be considered Chinese or corrosive. Red and green dot stickers were placed on walls
corresponding to whether Chinese drywall was present. Red dots indicate high strontium and
Chinese/corrosive drywall. Green dots indicate non‐Chinese drywall. In the remediation areas,
walls were marked with blue masking tape outlining limits to be removed. Walls were also
marked indicating areas to be removed for observation during post remediation verification
(PRV).

Conclusions
Based on our visual observations, experience and current state of knowledge in the industry,
Chinese Drywall Screening, LLC is of the opinion that corrosive drywall is present in the subject
property, limited to portions of the first floor only. Chinese drywall was observed in the Foyer,
Office, Cabana/Office Bathroom, Hall at Dining Room, entry to Kitchen. Chinese drywall was
not observed in the other areas of the home. No evidence of Chinese drywall was observed on
the second floor. Blackening observed on the 2nd floor A/C was determined to be from the
neighboring corrosive drywall at the base of the stairs near the intake for the A/C.

Recommendations
All drywall should be removed in rooms where Chinese drywall was discovered. Additional
testing and verification should be performed after demolition in order to verify no other
Chinese drywall is present. Abatement techniques similar to asbestos removal should be
followed. To minimize the impact to occupancy, remediation could be done in 2 phases:
Phase 1: Brick column to Kitchen
Phase 2: Balance of Foyer, Office & Bathroom

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It is the intent of CDS to inform and empower the Client with enough knowledge to make the
best, well informed decision that is in the best interests of the Client. Towards that end, we
recommend that you contact an attorney to discuss your legal rights, including potential claims
against your builder, along with the installer, supplier and manufacturer of the drywall. In
addition, we recommend you to consult with an attorney before you notify your homeowner’s
insurance.

For owners of properties with reactive drywall, it important to understand preservation of
evidence when selling or remediating as well as the importance of 3rd party verification of the
remediation. More information is available on our website or toll free at 855‐CDW‐Help (239‐
4357).




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                                                                                  Drywall and Corrosion Summary by Room




                               Flo sion?
                                                                                           Client :: Michael
                                                                                           Client            Valdes Date:
                                                                                                     Daniel Blonsky Date: 3/2/11
                                                                                                                          2/12/14. .

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                               Co
                                                                                  Description (MDL# ‐ Manufacturer ‐ Markings ‐ Location)
Foyer                                              Y        1 Corrosion and strontium levels around 2,000 ppm on various walls and ceilings




Hall                                               Y        1 Corrosion and strontium levels around 2,000 ppm at base of stairs, along Dining Room before Kitchen




Stair Closet                                       Y        1 Corrosion and strontium levels around 2,000 ppm at bevel strip under stairs in closet



Office                                             Y        1 Corrosion and strontium levels around 2,000 ppm on various walls




Cabana Bath                                        Y        1 Corrosion and strontium levels around 2,000 ppm limited to upper wall right of sink

                                                                  Walls with stone and tile need to be verified at time of demo

Dining Rm                                          N        1 No evidence of corrosive or Chinese drywall, but verify at time of demo



Living Rm                                          N        1 No evidence of corrosive or Chinese drywall, but verify at time of demo




China Rm                                           N        1 No evidence of corrosive or Chinese drywall, but verify at time of demo



Utility Rm                                         N        1 No evidence of corrosive or Chinese drywall, but verify at time of demo




Kitchen                                            N        1 No evidence of corrosive or Chinese drywall, but verify at time of demo




Second Floor                                       N        2 No evidence of corrosive or Chinese drywall



Checklist of items:
            Photos of coils.                                                                                                               Photos of plumbing trim.
            Photos of copper water lines.                                                                                                  Photos of furnishings.
MB = Master Bed, B1 = Bedroom 1, F = Family Room, L = Living Room, D = Dining Room, Bns = Bonus Room, Fyr = Foyer, H = Hallway, K = Kitchen, Gar = Garage

  * TYPICALLY, MAJOR ROOMS NOT LISTED ABOVE EITHER HAD RESTRICTED ACCESS OR THERE WAS NO EVIDENCE OF SULFUR ATTACK
This is form is for use by Chinese Drywall Screening, LLC only. Use of this form is only permitted with the expressed written consent of Chinese Drywall Screening, LLC. Information contained on this form is proprietary and confidential and shall not be disclosed without the
expressed written consent of Chinese Drywall Screening, LLC. © 2010 Rev. 10/28/10




                                                                                                        Chinese Drywall Screening, LLC
                                                                                          501 SE Port St. Lucie Blvd., Ste. 101, Port St Lucie, FL 34984
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                                                Exhibit A
                                                                             Certification
Certification of the Inspector

The undersigned do hereby certify that, to the best of our knowledge and belief:
       The statements of fact contained within this report are true and correct.
       The statements of opinions have certain limitations. It is not feasible and is impossible to confirm
        100% of corrosive drywall was either removed or is not present. There are several conditions that
        we have seen that could prevent discovery without a more exhaustive investigation. They include,
        but are not limited to:
                   Low strontium, corrosive drywall that is domestic and non-homogeneous.
                   Limited amounts of corrosive drywall in inaccessible areas or installed in a way that
                    would seclude it from available receptacles and switches.
                   Limited amounts of high strontium drywall covered with joint compound or heavy
                    textures hindering detection by x-ray fluorescence.
                   Variable amounts of low off-gassing drywall or drywall with corrosive recycled gypsum.
       We have no present or prospective interest in the property that is the subject of this report and we
        have no personal interest with respect to the parties involved. We have no bias with respect to the
        property that is the subject of this report or to the parties involved with this assignment.
       The information in this report is based on the existing conditions of the structure’s materials,
        documents, and information (written or verbal) supplied by contractor, the owner or their
        representatives, and our observations during the inspection.
       Our compensation or engagement in this assignment is not contingent upon the development or
        reporting of a predetermined conclusion that favors the cause of the client, the remediator, the
        attainment of a stipulated result, or the occurrence of a subsequent event directly related to the
        intended use of this report.
       Any use of this report by any other parties without our expressed or written consent is prohibited.
        Should another individual or entity rely on this analysis or its conclusions without our consent, they
        shall indemnify Chinese Drywall Screening, LLC, its employees, and service providers from all
        damages, losses or expenses that may occur as a result of its use.
       Our report is based on information made available to us at this time. Should additional information
        become available, we reserve the right to determine the impact, if any, of the new information on
        our opinions and conclusions and to revise our opinions and conclusions if necessary and warranted
        by the discovery of additional information.
       The provided services and documentation been completed to the best of our knowledge and based
        on current known facts regarding reactive drywall.



                                         Howard Ehrsam, P.E., LEED AP
                                                  CGC 1509717
                                   on behalf of Chinese Drywall Screening, LLC


                                      Chinese Drywall Screening, LLC
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                    Exhibit 8
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                    2881    Lake
                                                                                                                       Date
                                                                                                                                 QUOTE
                                                                                                                                     Estimate #
                    Davie, FL 33328
                                                                                                                     3lt7l20l4            3238
           Name / Address
        Daniel F. Blonsþ
        8220 SW 60th Court,
        South Miami, FL 33143




                                                       Description                                                                     Total
CHINESE DRYWALL REMOVAL, REBUILD, DESTRUCTIVE TESTING AND PAINT                                                                           32,500.00
$16250 forArea#1. $16250K for Area#2.Prepay 50%oto schedule work.

This price assumes that the scope of work is not more than l\Yo greater than what Howard/CDS has indicated is CDW. But
includes additional destructive testing as requested by Mrs. Blonsþ.

This quote valid for 30 days.

Price includes protect flooring and content. Remove and later reset crown and base. Remove and replace drywall. Level 5
fìnish. Due to the requirement to check every wall and ceiling downstairs, the entire downstairs will be repainted except 2
FAUX ceilings.

IMPORTANT: The only potential concem we have for quality may be the wood beams in the entry foyer. These were
finished after the drywall was installed when the house was being built. Obviously we cannot do this in the same order at
this point. We will try as best we can to keep the beams perfect but if they need repainting/ staining that will be the home
owner's responsibility.

See addendum attached for addition coûrnents and/or conditions.



PAYMENT TERMS: 50Voprepayment for each area, with the balance due for the first area before starting the second area.
Final balance due upon completion.
This quote valid for 30 days.
Price is for payment by check. 3olo service charge for credit cards.
Please see attached PROCEDURES, DISCLAIMERS AND LIEN RIGHTS.

Gary Rosen, Ph.D.
FL Lic Building Contractor CBCl25082l,
FL Lic Mold Assessor # MRSA95,
FL Lic Mold Remediator #MRSR4I




                                                                                                      Total                            $32,500.00


Each person accepting the            shall               liable for full compliance herewith. Signing this agreement constitutes a work order and
cannot be cancelled


Customer                                       the terms and policies where applicable. Accepted and agreed to by:

SIGN:                                                                                                                  DATE
                                                                                                                                 SÒ-IY

PRINT             DnnJ¡rr              Lù 'r

                Phone #                   Fax #                           E-mail                                   Web Site
              954-614-6860            9s4-452-3543                 lrosen0l@gmail.com                          www.mold-free.org
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                                         Blonsky CDW Addendum:

 Remediation includes additional destructive examination that your wife has indicated she wants. See
 below.
 Based on discussions with your wife, the work will be done in 2, 1 week periods. We need at least 2
 weeks between periods so we can continue to support our other clients.
 Area #L: South end of house from the North side of the entry area. Lst floor only. Study/den, living
 room (by pool), entry, bathroom.
 Area #2: Everything North of this area including AC closet, dining room, hallway, under stairs, kitchen,
 family room. l-st floor only.
 Area #2 will be done during a one week period when your family is on vacation, The reason being that
 the area includes the main hallway and the AC for the downstairs. Hard to work in this area when house
 is occupied. lf you are willing to go without AC for a few days then we can do this when you are not on
 vacation. But your wife said you wanted to have the work done in the summer when you are on
 vacation.
 Area #L: Can be done when house is occupied. You will not be able to use the front door or that area of
 the house for approximately one week. We can start this any time. Before the summer is no problem.
 Given that this area has the majority of the Chinese Drywall, for health reasons not sure why you would
 want to wait for the summer?
 Blonsky Preparation: No major prep work needs to be done on your part except your cabinet maker will
 detach the built ins in the Study/den before we work on Area #1. We will move things around. No
 storage is needed. We are concerned about the cleanliness of any storage facility and problems with
 nicks and scratches. We will move items in the Study/Den into the living room by the pool and cover
 them and then move them back when done. Please remove valuables such as money and jewelry from
 work areas. Dining room. Not much Chinese drywall there. We can cover large dining room table and
 chairs.

 Scope of work: Your wife wants every wall and every ceiling downstairs tested. She wants Howard's
 testing retested to make sure everything is perfect when we are done. This means making openings and
 checking the color of the gypsum core throughout the downstairs. This is easy to do but requires that all
 the walls and ceilings on the first floor (except FAUX ceilings see below) be repaired and then painted
 when done. The baseboards and crown need to come down but can be recycled and reset after new
 drywallinstalled. lfthecrownispressedwoodandnotrealwooditmightfallapartandnotbeableto
 be recycled. We are not responsible for any damage to the baseboard or crown. Usually there is none.

 Crown and base will have to be repainted upon completion of the rebuild. We are going to check the
 FAUX ceilings in the D.R. and L.R. without damaging them by opening areas in the adjacent soffits and
 peeking into the ceiling behind the existing crown molding. This will allow us to check the entire
 perimeter of these ceilings for CDW. Not sure if Howard tested these ceilings or not based on the
 report. But testing with the laser is not accurate through such finish and should be double checked. And
 your wife wants everything checked and double checked.

 Howard in his report recommends that every area be double checked during demolition. That is what
 we willdo.
 ln the CDS report Howard recommends that all drywall in a room be removed if any Chinese drywall is
 present. But we don't do that. On an internalwall once you open one side you can almost always
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 definitively determine the type of drywall on the other wall, and where we can rule out Chinese drywall
 we leave the existing drywall. Otherwise we follow his recommendations.
 No permits will be pulled for this work. This means doing some work on Sat and Sunday.

 Once our work is done, you should have an electrician come in and change out the electrical receptacles,
 switches, and clean ends of wires. All smoke detectors in the house should be changed out both
 upstairs and down. Not included in our price. Plumbing is no issue. AC coils should be replaced with new
 to avoid any potential for water leaks that could lead to flooding and mold. Not included in our price.
 One last thing ... we are going to check the back of the tiled bathroom wall for Chinese drywall. lf there
 is any we will remove       not retile. That is up to you.



                                       Ç¡¡'l
  Home owner signature              Date
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-F"""-


                        DANIEL BLONSKY                                               3522
                        SHOilA BLONSI(Y
                                                                flnY z\ LÐt
                                                                                     6346qÆ60
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                   CHINESE DRYWALL FREE CERTIFICATE


FR: Gary Rosen, Ph.D.                                                      12-4-14
RE: 8220 SW 60th Ct S. Miami, FL

Chinese Drywall Screening (ChineseDrywallScreening.com) inspected 8220 SW
60th Ct S. Miami, FL for corrosive Chinese drywall. Corrosive Chinese drywall was
found in areas of the first floor. No Chinese drywall was found upstairs.
The precise locations of the problem drywall were mapped out by Chinese
Drywall Screening. Problem drywall was present in both walls and ceilings in
these areas.
Our firm was hired to perform Chinese Drywall remediation. Under EPA Level 1
containment, all corrosive Chinese drywall was removed from the home. Wall
and ceiling cavities were carefully cleaned of Chinese drywall dust and new (U.S.
manufactured) drywall was installed.
The square footage of the area remediated was 1932 sq ft.
I hereby certify that 8220 SW 60th Ct S. Miami, FL is free of all detectable
Chinese drywall.


Sincerely,


Gary Rosen, Ph.D., LEED AP
State Licensed Mold Remediation MRSD-417
State Licensed Mold Assessment Contractor MRSA-95
State Licensed Building Contractor CBC1250821
www.Chinese-Drywall.org
www.Mold-Free.org




      Certified Mold & Allergen Free Corp. ∙ 2881 W Lake Vista Cir, Davie FL 33328 ∙
                            954-614-7100 ∙ Fax 954-452-3543
                     www.mold-free.org www.green-buildings.org
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                  Exhibit 14
